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                 IN THE UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION



 In Re:
 BILLY CRAWFORD, JR,                                          BK Case 17-36174
 JEAN L. CRAWFORD,                                               Chapter 13
        Debtors


 BILLY CRAWFORD, JR,
 JEAN L. CRAWFORD,
      Plaintiffs

 v.

 DHI FUND, LP; LAKESIDE
                                                         Adversary Case: 18-03400
 RESIDENTIAL COMMUNITY
 ASSOCIATION, INC.; HARRIS
 COUNTY PRECINCT 4
 CONSTABLE; MARK HERMAN;
 MARY VU a/k/a MARY VUE;
 NANCY CHONG a/k/a NANCY TU;
 AND WARRENSON PAYNE
      Defendants


DHI FUND, LP’S MOTION TO DISMISS FOR LACK OF JURISDICTION

This motion seeks an order that may adversely affect you. If you oppose the motion, you should
immediately contact the moving party to resolve the dispute. If you and the moving party cannot
agree, you must file a response and send a copy to the moving party. You must file and serve
your response within 21 days of the date this was served on you. Your response must state why
the motion should not be granted. If you do not file a timely response, the relief may be granted
without further notice to you. If you oppose the motion and have not reached an agreement, you
must attend the hearing. Unless the parties agree otherwise, the court may consider evidence at
the hearing and may decide the motion at the hearing.

Represented parties should act through their attorney.
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      Comes now, DHI Fund, LP, Defendant herein, and files this motion to

dismiss and would respectfully show:

                                       FACTS:

      1.     On or about October 21, 2015, Lakeside Residential Community

Association, Inc. (“Lakeside”), brought suit in Harris County District Court against

Plaintiffs seeking an Order of Foreclosure to foreclose its lien against the property

known as 18203 Maple Arbor Ct., Cypress, Texas (“Subject Property”). Said suit

was styled Lakeside Residential Community Association, Inc. vs. Billy Crawford

Jr. and Jean L. Crawford under Cause 2015-62925 (“State Suit”).

      2.     On May 27, 2016, the Harris County District Court, 61st Judicial

District, issued a judgment in favor of Lakeside.

      3.     On January 3, 2017, the Harris County Constable’s Office, acting

pursuant to a Court Order sold the Subject Property at auction to DHI Fund, LP for

the sum of $21,000.00.

      4.     On November 6, 2017, Debtor filed bankruptcy.

      5.     Debtor filed this current action on December 14, 2018.

                                    DISCUSSION:

      6.     The Court should dismiss Plaintiff’s lawsuit as this court lacks

jurisdiction over this matter because Plaintiffs asks this court to review an Order of
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the Harris County District Court. This Court does not have jurisdiction to sit in

review of a state court.

       7.     Plaintiffs’ argument in this adversary proceeding is that they were not

properly served with citation in the state court suit which led to the subject

property being foreclosed, and that necessary parties were not made a part of the

State Suit. This is an attempt by the Plaintiff to collaterally attack the judgment of

the state court. In essence, Plaintiffs are asking this court to sit in review of a

judgment of a state court.

       8.     This court does not have jurisdiction to sit in review of the state court

judgment. “The Rooker- Feldman doctrine… [applies to] cases brought by state-

court losers complaining of injuries caused by state-court judgments rendered

before the district court proceedings commenced and inviting district court review

and rejection of those judgments.” 1 “Reduced to its essence, the Rooker-Feldman

doctrine holds that inferior federal courts do not have the power to modify or

reverse state court judgments ‘except when authorized by Congress’”2 “A state

court's judgment is attacked for purposes of the Rooker-Feldman doctrine ... if the




1
 Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (U.S. 2005).
2
 Truong v. Bank of Am., N.A., 717 F.3d 377, 382 (5th Cir. La. 2013) citing Union Planters Bank
Nat'l Ass'n v. Salih, 369 F.3d 457, 462 (5th Cir. 2004) (internal quotation marks and citation
omitted)
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losing party in state court is 'seeking what in substance would be appellate review

of the state judgment in a United States district court.'”3

       9.     Rooker-Feldman doctrine has four elements: (1) a state court loser; (2)

alleging harm caused by a state court judgment; (3) that was rendered before the

federal court proceeding began; and (4) the federal suit requests review and

reversal of the state court judgment.4

       10.    The first element is clearly met since Plaintiffs were the loser in state

court, Plaintiffs admits the state court found in favor of Lakeside. Original

Petition at 6. Plaintiffs claim they were injured because of the judgment of the state

court because the order of the state court led to the foreclosure of Subject Property.

Original Petition at 12. The judgment in the State Suit was rendered on May 27,

2016, well before this Suit was filed and before the bankruptcy was filed.

       11.    This suit is asking the Court to review the Order and set aside the

Order because of perceived issues with the judgement in the State Suit. Plaintiffs

seek from this Court an Order which vacates the Order in the State Suit – a clear

violation of the Rooker-Feldman Doctrine.




3
  Weaver v. Tex. Capital Bank N.A., 660 F.3d 900, 903 (5th Cir. 2011) (quoting Johnson v. De
Grandy, 512 U.S. 997, 1005-06, 114 S. Ct. 2647, 129 L. Ed. 2d 775 (1994));
4
  Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284, (2005); see also Houston v.
Queen, 606 F. App'x 725, 730 (5th Cir. 2015).
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         12.    Under the Rooker-Feldman doctrine, this Court does not have

jurisdiction to sit in review of an order issued by a state court.5 Under Rooker-

Feldman, “a party losing in state court is barred from seeking what in substance

would be appellate review of the state judgment in a United States district court,

based on the losing party’s claim that the state judgment itself violates the loser's

federal rights.”6 Plaintiffs’ claim the judgment of the State Suit violates their

federal rights. Original Petion, Supra.



                                            PRAYER:

         WHEREFORE, Premises considered, DHI Fund, LP asks this Court to

dismiss the adversary complaint for lack of jurisdiction and grant DHI Fund, LP all

other relief to which it is justly entitled in law and/or in equity.

                                            Respectfully submitted,

                                            BARRY & SEWART, PLLC

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5
    Knoles v. Wells Fargo Bank, N.A., 513 Fed. Appx. 414, 415 (5th Cir. Tex. 2013).
6
    Johnson v. De Grandy, 512 U.S. 997, 1005-06, 114 S. Ct. 2647, 129 L. Ed. 2d 775 (1994).
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                           Fax: (713) 722-9786
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                              Certificate of Service

      I certify that a true and correct copy of the foregoing was served upon the
following by electronic mail via the ECF filing system.

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                                       /S/ Nicholas M. Frame
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